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Lin-Hendel et. al. v Saudi Aramco et. al.

Exhibit 5B

Four recent examples of infringements by Saudi Aramco, Aramco Americas,
Aramco Ventures, Aramco Trading Company, and one suggestion for better
implementation for the present Saudi Aramco use of Plaintiffs patents on its
homepage. (55 pages in total for Exhibit 5B)

5B-1: Claim Chart 5: www.SaudiAramco.com/ example infringement on
Patent 8,438,487
(A total of 14 pages)
5B-2: Claim Chart 6: https://Americas.Aramco.com/ example infringement on : ms ~
Patent 8,438,487.
(A total of 11 pages)

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5B-3: Claim Chart 7: https://saev.com/ Saudi Aramco Energy Ventures site -~ fy Seen
infringing on at least Patents 10,296,198, 9,405,852,
8,108,792, and 7,712,044 .

(A total of 10 pages)

5B-4: Claim Chart 8: https://AramcoTrading.com/ site infringing on
at least Patents 10,296,198, 9,405,852, 8,108,792 and
7,712,044 .
(A total of 8 pages)

 

5B-5: Chart 9: Suggested Implementation on www.SaudiAramcom.com/
homepage to greatly improve the functionality and operations of
the site.
(A total of 12 pages)

Exhibit cover page for Lin-Hende! et. al. v. Saudi Aramco et. al.
